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                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                        IN THE UNITED STATES DISTRICT COURT                                 May 25, 2022
                        FOR THE SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

MIDFIRST BANK,                                    §
                                                  §
                       Plaintiff,                 §
                                                  §
V.                                                §           CIVIL ACTION NO. H-22-721
                                                  §
BUNDRA MCGAFFIE,                                  §
                                                  §
                       Defendants.                §

          ORDER ENTERING DEFAULT AND FINAL DEFAULT JUDGMENT

       MidFirst Bank owns a note issued to Vanessa D. McGaffie-Fox, which she used to

purchase a property located at 273 Owens Street, Houston, Texas. MidFirst is also the mortgagee

of the associated Deed of Trust. Bundra McGaffie is McGaffie-Fox’s alleged heir and son, but he

has not made payments on the note since his mother died in August 2020. After default and failure

to pay the note, MidFirst sued McGaffie seeking a declaratory judgment that it has a statutory lien

on the property and an order that it may perform a non-judicial foreclosure. (Docket Entry No. 1).

       McGaffie has been served with summons and a copy of the complaint. (Docket Entry No.

7). He has not timely filed a responsive pleading or otherwise defended the suit. MidFirst has

concurrently moved for entry of default and for default judgment. (Docket Entry Nos. 8, 9). The

procedural requirements for default under Fed. R. Civ. P. 55(a) are met. The request for entry of

default, (Docket Entry No. 8), is granted.

       MidFirst also argues that the court can enter default judgment under Fed. R. Civ. P. 55(b),

because McGaffie has not answered or defended the claims against him, the facts alleged in

MidFirst’s complaint are treated as admitted, and MidFirst is entitled, on the facts alleged, to (1) a

declaratory judgment that it is the owner and holder of the note, beneficiary of the Deed and




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mortgagee, as defined under Texas Property Code section 51.0001 and (2) a judgment allowing

foreclosure of McGaffie’s interest of the property. MidFirst also seeks attorney’s fees and court

costs.

          “A default judgment is unassailable on the merits but only so far as it is supported by the

well-pleaded allegations, assumed to be true.” Wooten v. McDonald Transit Assocs., Inc., 788

F.3d 490, 496 (5th Cir. 2015) (quoting Nishimatsu Constr. Co., Ltd. v. Hous. Nat’l Bank, 515 F.2d

1200, 1206 (5th Cir. 1975)). “There must be a sufficient basis in the pleadings for the judgment

entered.” Nishimatsu, 515 F.2d at 1206. For the court to enter default judgment, the complaint

must satisfy Federal Rule of Civil Procedure 8. See Wooten, 788 F.3d at 497–98.

          Under the Texas Estates Code, when a person dies intestate, their estate and debts “vest[]

immediately in the person’s heirs at law.” TEXAS EST. CODE §§ 101.001(b), 101.051(b)(1); see

also Ocwen Loan Servicing, LLC v. Deane, No. 4:15-cv-00682-O-BP, 2017 WL 6816499, at *3

(N.D. Tex. Dec. 1, 2017). “The remedy of one holding an unpaid claim against the estate is to

enforce a statutory lien against the property in the hands of the heirs, devisees, or legatees who

receive estate property.” Id. (citing Potts v. W.Q. Richards Mem’l Hosp., 558 S.W.2d 939, 943

(Tex. Civ. App.—Amarillo 1977, no writ)).

          Under Texas law, as recently summarized in Bokf, N.A. v. Logan, No. 3:19-CV-2910-B,

2020 WL 1470803 (N.D. Tex. Mar. 26, 2020),

                 a mortgagee is permitted to seek foreclosure of a lien against real
                 property when a borrower is in default on its obligations under a
                 security instrument. See Huston v. U.S. Bank Nat’l Ass’n, 988 F.
                 Supp. 2d 732, 740 (S.D. Tex. 2013). A security instrument is a
                 “deed of trust, mortgage, or other contract lien on an interest in real
                 property.” TEX. PROP. CODE § 51.0001(6). A mortgagee includes
                 the “grantee, beneficiary, owner, or holder of a security instrument
                 ... or if the security interest has been assigned of record, the last
                 person to whom the security interest has been assigned of record.”
                 Id. § 51.0001(4). A mortgagee seeking to foreclose on a security



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               instrument must provide written notice by certified mail to the
               debtor stating that the debtor is in default under the security
               instrument and allow the debtor at least twenty days to cure the
               default prior to initiating foreclosure proceedings. Id. § 51.002(d).

               To foreclose through a power of sale, a lender must show that: “(1)
               a debt exists; (2) the debt is secured by a lien created under art. XVI,
               § 50(a)(6) of the Texas Constitution; (3) the defendant is in default
               under the note and security instrument; and (4) the defendant
               received notice of default and acceleration.” Wells Fargo Bank,
               N.A. v. Taylor, 2017 WL 6816591, at *4 (N.D. Tex. Dec. 5, 2017)
               (citing, inter alia, TEX. PROP. CODE. § 51.002).

Id. at *4. MidFirst is the current owner and holder of the note, and the mortgagee of the associated

security instrument, the Deed. (Docket Entry No. 1 at ¶¶ 16–17; see also Docket Entry No. 1-1).

When McGaffie-Fox passed away, her son, McGaffie, became her heir. (Docket Entry No. 1 at ¶

4). No payments have been made on the note since August 2020. MidFirst sent notice of default

in March 2021, and notice of acceleration in January 2022. (Id. at ¶¶ 21–22).

       MidFirst has alleged facts that it is entitled to a declaration based on its pleadings that it

has a statutory probate lien on the property under the note terms, and that it may non-judicially

foreclose on the property. MidFirst’s motion for default judgment, (Docket Entry No. 9), is

granted. The court declares that:

           1. An event of default has occurred on a note executed on or about August 11, 2008,

               by decedent Vanessa D. McGaffie-Fox in the principal amount of $82,215.00,

               originally payable to Countrywide Bank, FSB.

           2. The Deed of Trust dated August 11, 2008, executed by McGaffie-Fox, and recorded

               as Instrument No. 20080432010 in the real property records of Harris County,

               Texas, provides MidFirst Bank as the current owner of the note and mortgagee of

               the security instrument, in the event of a default on the obligations on the note, with

               a first lien security interest on certain real property commonly known as 273 Owens



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       Street, Houston, Texas 77029-4536, and more particularly described as follows:

       LOT NINETEEN (19), IN BLOCK TWENTY (20), CLINTON PARK, A

       SUBDIVISION IN HARRIS COUNTY, TEXAS, ACCORDING TO THE MAP

       OR PLAT THEREOF RECORDED IN VOLUME 18, PAGE 28, MAP

       RECORDS, HARRIS COUNTY, TEXAS.

    3. MidFirst is the current holder and owner of the note and beneficiary of the security

       instrument. MidFirst is also a mortgagee as that term is defined in § 51.0001(4) of

       the Texas Property Code.

    4. The following are secured by the security instrument on the property: the

       outstanding balance of the note; prejudgment interest at the note interest rate of

       6.375%; post-judgment interest at the note interest rate of 6.375%; and costs of

       court.

    5. MidFirst or its successors or assigns, may proceed with foreclosure on the property

       as provided in the security instrument and § 51.002 of the Texas Property Code.

    6. All foreclosure notices may be mailed to Bundra McGaffie, at 273 Owens Street,

       Houston, Texas 77029-4536.

    7. All costs are to be taxed against McGaffie, not as a personal judgment but as a

       further obligation on the debt.

    8. This is a final judgment.

                SIGNED on May 25, 2022, at Houston, Texas.


                                                   _______________________________
                                                             Lee H. Rosenthal
                                                      Chief United States District Judge




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